          FIRST DISTRICT COURT OF APPEAL
                 STATE OF FLORIDA
                  _____________________________

                         No. 1D2023-1135
                  _____________________________

LISA COLBY,

    Appellant,

    v.

LOUIS ZICARELLI,

    Appellee.
                  _____________________________


On appeal from the County Court for Okaloosa County.
Angela D. Mason, Judge.


                         August 21, 2024

PER CURIAM.

     Lisa Colby, a tenant, appeals a final judgment in favor of
Louis Zicarelli, the landlord, for eviction, possession, and unpaid
rent. She challenges the trial court’s granting of judicial default
and subsequent final judgment on the basis that she failed to
timely pay into the court registry per court order. Pursuant to
subsequent filings, the issue of possession is now moot. However,
we reverse and remand regarding the judicial default for the
reasons stated below.

    Mr. Zicarelli filed the underlying eviction action and sought
outstanding rent, claiming Ms. Colby failed to pay rent for
January, February, and March 2023. Ms. Colby raised payment as
an affirmative defense, asserting she paid rent in cash for the first
two months alleged unpaid and that she paid into the court
registry the remaining month plus an additional rent payment
that accrued during the proceedings. Regardless, the trial court
granted judicial default, finding she failed to abide by court order
and pay into the court registry. Ms. Colby argues on appeal that
because she interposed payment as a defense, the trial court was
required to conduct an evidentiary hearing before granting
default. We agree.

     This Court reviews de novo issues requiring statutory
interpretation. E.A.R. v. State, 4 So. 3d 614, 629 (Fla. 2009).
Section 83.60(2), Florida Statutes, states in relevant part,

    Failure of the tenant to pay the rent into the registry of
    the court or to file a motion to determine the amount of
    rent to be paid into the registry within 5 days, excluding
    Saturdays, Sundays, and legal holidays, after the date of
    service of process constitutes an absolute waiver of the
    tenant’s defenses other than payment, and the landlord
    is entitled to an immediate default judgment for removal
    of the tenant with a writ of possession to issue without
    further notice or hearing thereon.

As dictated by statute, the tenant must pay rent into the court
registry or file a motion to determine rent and the failure to do
either entitles the landlord to default judgment for removal of the
tenant via writ of possession without further hearing. Id. “The only
exception to this express statutory requirement is if the tenant
interposes a defense of payment.” 1560-1568 Drexel Ave., LLC v.
Dalton, 320 So. 3d 965, 969 (Fla. 3d DCA 2021); see also Stanley v.
Quest Intern. Inv., Inc., 50 So. 3d 672, 674 (Fla. 4th DCA 2010)
(“The tenant is required to deposit the disputed rent into the court
registry to assert any defense other than payment.”).

     On April 7, 2023, Ms. Colby received the summons that
instructed her to pay the past due rent into the court registry, plus
rent as it accrued. She timely paid two months’ rent into the court
registry on April 10, an amount to cover rent owed for March and
April. On April 13, the trial court issued its order requiring Ms.
Colby to pay rent, past due and as it accrues, into the court
registry. The next day, Appellant filed her answer and raised


                                 2
payment as a defense, claiming she paid rent for January and
February in cash and the amount paid into the court registry went
to both past due and rent that had since accrued. Then on April 28,
the trial court granted Mr. Zicarelli’s motion for judicial default on
the basis that Ms. Colby had not paid past due rent into the court
registry. But this is error, as Ms. Colby raised payment as a
defense and had paid rent for March into the court registry.

     Like a motion to determine rent, Ms. Colby’s affirmative
defense that she paid the alleged past due rent presents a genuine
issue of material fact that warrants a hearing to resolve and
precludes issuance of default and final judgment. See Soundbar,
LLC v. BYM Com., 328 So. 3d 1097, 1100 (Fla. 5th DCA 2021)
(“[T]he trial court is constrained at the rent determination hearing
to consider only the limited defenses constituting ‘payment or
satisfaction of the rent’”); Pita v. State St. Bank &amp; Tr. Co., 666 So.
2d 268 (Fla. 3d DCA 1996). Accordingly, we reverse the final
judgment and judicial default and remand for further proceedings
consistent with this opinion.

    REVERSED and REMANDED.

LEWIS, ROWE, and M.K. THOMAS, JJ., concur.

                  _____________________________

    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
               _____________________________


Carrie Vaughn Cromey, Legal Services of North Florida,
Pensacola, for Appellant.

John F. Howell, Howell Law Firm, Fort Walton Beach, for
Appellee.




                                  3
